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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA

JEREMY B. HALES,                      :                   Civil Action No.:
                                      :                   1:24-CV-00045-AW-ZCB
           Plaintiff,                 :
     v.                               :
                                      :
LYNETTE MICHELLE LACEY ALEXIS PRESTON :
and                                   :
JOHN COOK,                            :
                                      :
           Defendants                 :


                     MOTION FOR ATTORNEY FEES UNDER 28 USC 1927 1

             The defendants move for an order that the plaintiff’s counsel pay the

      defendants reasonable attorney fees for unreasonably and vexatiously multiplying

      proceedings in five distinct and separate ways:

      1. Noticing and taking the deposition of Amanda Martin, who was subpoenaed on

         the pretext of being a witness but was questioned about personal matters

         completely unrelated to any claims or issues in this lawsuit, apparently to harass

         Ms. Martin on behalf of the plaintiff and to generate YouTube content.

      2. Filing frivolous motions to dismiss or strike counterclaims (Doc #s 85 & 86) based

         on the openly advanced but obviously false premise that counterclaims named

         the plaintiff’s counsel as a party-defendant.




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     The Court granted leave to file the present motion combining four prior filings. See Doc # 118.
  The grounds for this motion are far from the totality of the plaintiff’s counsel’s use of this
  litigation to unreasonably and vexatiously multiply proceedings.
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3. Falsely accusing the defendants’ counsel of fabricating quotations from legal

   authority, as well as other misrepresentations in the plaintiff’s opposition (Doc #

   80) to the defendants’ recent 12(b)(1) motion.

4. Failing to pay half of the cost of the court reporter for the December 19, 2024

   deposition of the plaintiff as ordered by the Court (Doc # 43), then attempting to

   extort the undersigned by threatening a motion for sanctions unless the

   undersigned paid him for half the cost of a transcript copy he had purchased.



                           MEMORANDUM IN SUPPORT

      28 USC § 1927 provides: “Any attorney or other person admitted to conduct

cases in any court of the United States or any Territory thereof who so multiplies the

proceedings in any case unreasonably and vexatiously may be required by the court

to satisfy personally the excess costs, expenses, and attorneys' fees reasonably

incurred because of such conduct.”

      “Under the plain language of the statute three factors must be present in

order to justify an imposition of sanctions: (1) an attorney must engage in

“unreasonable and vexatious” conduct; (2) such “unreasonable and vexatious”

conduct must “multipl[y] the proceedings”; and (3) the amount of the sanction cannot

exceed the costs occasioned by the objectionable conduct.”

      Smith v. Psychiatric Solutions, Inc., 864 F. Supp. 2d 1241, 1267-68 (N.D. Fla.

2012), quoting Norelus v. Denny’s Inc., 628 F.3d 1270, 1281 (11th Cir. 2010).

      “More particularly, “[t]he term ‘unreasonably’ necessarily connotes that the

district court must compare the attorney's conduct against the conduct of a



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‘reasonable’ attorney and make a judgment about whether the conduct was

acceptable according to some objective standard. The term ‘vexatiously’ similarly

requires an evaluation of the attorney's objective conduct.” Id. at 1239–40;see

also Amlong, 500 F.3d at 1240 (citing Black's Law Dictionary, (8th ed.2004), for

definition of “vexatious” (meaning “without reasonable or probable cause or excuse;

harassing; annoying”)). … “Although the attorney's objective conduct is the focus of

the analysis, the attorney's subjective state of mind is frequently an important piece

of the calculus, because a given act is more likely to fall outside the bounds of

acceptable conduct and therefore be ‘unreasonabl[e] and vexatious[ ]’ if it is done

with a malicious purpose or intent.”

       Smith v. Psychiatric Solutions, Inc., 864 F. Supp. 2d 1241, 1267-68 (N.D. Fla.

2012), quoting Amlong & Amlong P.A. v. Denny’s Inc., 500 F.3d 1230, 1239-41 (11th.

Cir. 2007).



   1. Counsel deposed a “witness” for harassment and YouTube content.

       An award of attorney fees is warranted for the plaintiff’s counsel abusing

depositions to harass third parties on the pretext of deeming them “witnesses.”

       On February 14 the plaintiff’s counsel spent approximately 90 minutes

deposing Ms. Martin about topics unrelated to any claims or issues in this case.

From the questioning, it’s clear the plaintiff has an ax to grind with Ms. Martin

because she was the Levy County Victim’s Advocate assigned when defendant

Preston filed for a state court restraining order against the plaintiff in the fall of 2023

for stalking her physically and online.



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       Atty. Shochet questioned Ms. Martin extensively about, among other things,

“making a dirty face” at the plaintiff during a court date, making a comment to the

plaintiff’s then-counsel that he was an “asshole” and “psychotic,” her relationship

with her son including continuing to delve into it after Ms. Martin revealed she is

unaware of her son’s whereabouts, her feelings about the plaintiff having publicly

read her husband’s obituary on YouTube, and other topics having nothing

whatsoever to do with the defendants or the claims against them. Counsel’s

apparent aim was to upset Ms. Martin, which he did repeatedly.

       Ms. Martin was clearly not familiar with the claims or allegations in this case

and had no idea whether any of the questioning she was being subjected to was

relevant. She patiently and politely answered all questions, even when Atty.

Shochet’s questioning upset her to the point of causing her to cry on two occasions.

When the undersigned finally interjected that the questioning had no relevance and

the deposition was being used for harassment of the witness, the plaintiff’s counsel

began threatening motions for sanctions.

       As the deposition continued and Atty. Shochet’s questions about personal,

upsetting topics continued, Ms. Martin called out for “the other lawyer” (the

undersigned). In response the undersigned stated that he had no authority to

terminate the deposition under Federal Rule 26(c) if it is being used to harass Ms.

Martin since he did not represent her, but she could do so herself and seek a

protective order. This led to more threats of sanctions by Atty. Shochet for alerting

the witness to her rights, after which he stated he was done questioning the witness.




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       If there were any relevant topics of questioning, the examination would not

have suddenly ended once the witness realized she could stop it for harassment. If

the undersigned had sat silently the deposition would have gone to the maximum

length of seven hours (“not including breaks”), based on the following email (the

boldface is in the original):

rshochet@shochetlaw.com <rshochet@shochetlaw.com>                          Wed, Jan 15,
                                                                           11:49 AM
to Bruce Matzkin

Here are the following deponents and their dates: all depositions will be for the full seven
hours, not including breaks, and will be in person at the Levy County Courthouse,
except for Lisa Weeks a/k/a …, her deposition will at 3601 W Burleigh Blvd US Hwy 441,
Tavares, FL 32778, and Robert J. Keszey, whose deposition will take place at Room
208. Sumter County Courthouse, 215 E. McCollum Ave., Bushnell, Florida 33513
1-24-2025 at 10 AM – LISA WEEKS
a/k/a LISA LEE a/k/a LISA RAPUZZI a/k/a LISA LEE RAPUZZI
a/k/a LISA RAPUZZI WEEKS
3601 W Burleigh Blvd US Hwy 441, Tavares, FL 32778.
1-28-2025 at 10 AM - MARLA HUGHES
1-31-2025 at 10 AM – RUSSELL MEEKS
2-6-2025 at 10 AM. - Steven Rhett Cunningham
2-13-2005 at 10 AM-      Robert J. Keszey
2-14-2025 at 10 AM - Amanda Martin
Sincerely,
Randall “Randy” Shochet, Esq.


       The undersigned briefly cross-examined Ms. Martin to see if she knew

anything about the “defamatory roadside signs” underlying the plaintiff’s claims in

this case. She knew of them only via YouTube videos she was sent links for by

others, in which the plaintiff published the signs to promote his storylines and justify

this litigation to his followers. Nevertheless, Ms. Martin’s response was “evidence”

relied on in the plaintiff’s opposition (Doc # 80) to the defendants’ 12(b)(1) motion, to

create the false appearance that her deposition had some valid purpose:



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           “Regarding the motion’s claim that Plaintiff cannot identify a single
   person who saw the defamatory signs ‘other than Zim Padgett, Therese
   Granger, or Stephen Granger,’ Defendants’ counsel disproved this himself
   recently in the deposition of Ms. Amanda Martin (Defendant Preston’s
   Court Appointed Victims Advocate), an employee of the Eighth Judicial
   Circuit In The State Of Florida – who testified that she saw the signs when
   social media posts and links to those defamatory signs were sent to her by
   two different people via email. See Transcript attached as Exhibit ‘2.’”


       Ms. Martin’s deposition was the subject of a YouTube video entitled, “Victim’s

Advocate Lied Under Oath In Federal Case” in which the plaintiff mocked Ms.

Martin, threatened her with legal action, and made at least 10 threats of sanctions

against the undersigned and other non-parties whose deposition subpoenas were

not effectively served and so did not appear. The video can be viewed here:

https://www.youtube.com/watch?v=RWOyMpry7zw. It ends with this ominous threat

by the plaintiff against Ms. Martin:

       “So she looks at Randy is this done and Randy goes yeah yeah we're off the
Record you're done she goes no I mean is this done for good am I done am I out of
this and Randy goes you need to ask Mr hailes and I look her straight in the face
as I get up and I go not by any stretch of the imagination and not for your son
either and I immediately walk out well after I walk out she now is mad you know the
whole puppy dog the whole droopy eyes thing with the tears didn't work.”


       This deposition of Ms. Martin also generated extensive content on other

YouTube channels profiting from the plaintiff’s litigation storylines. See Exhibit A.

       The plaintiff’s counsel’s deposition of Ms. Martin unreasonably and

vexatiously multiplied proceedings to generate YouTube content, warranting an

award of attorney fees.




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   2. Doc #s 85 & 86 were based on a flagrantly false premise.

       An award of attorney fees is warranted for the plaintiff’s counsel filing motions

to dismiss counterclaims based on the fabricated pretext he’d been named as a

counterclaim defendant, which the Court determined was sanctionable (Doc # 128).

       The motions were hastily conceived, drafted and filed to counter the negative

(for the plaintiff) YouTube coverage of the defendants’ motion for leave to reply (Doc

# 83) to address misrepresentations contained in the plaintiff’s 12(b)(1) opposition.

The motions were based on the made-up premise that the counterclaims “seek to

add ‘plaintiff's counsel’ as a party-defendant.” There was no authority cited holding

that by mentioning the plaintiff’s counsel in the counterclaim’s allegations, it means

he is a “party-defendant” despite not being so designated. The motions were

fabricated on a false pretext in order to file them when they did. It was an abuse of

the Court and this litigation.

       These frivolous motions multiplied proceedings because they required the

defendants to file a response (Doc # 90) and the Court to read the motions and

response and issue a ruling. The Court denied motion #s 85 and 86 (Doc # 91)

stating, “As Defendants’ response in opposition (Doc. 90) has confirmed (and the

Court itself had concluded based on its review of Defendants’ answer), no

counterclaims have been asserted against Plaintiff’s counsel. Thus, there are no

counterclaims against Plaintiff’s counsel to dismiss.”

       It is objectively unreasonable to fabricate false pretexts for filing motions to

dismiss. Attorney fees are warranted because the motions unreasonably and

vexatiously multiplied proceedings.



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   3. False accusation of fabricating quotation from legal authority.

       An award of attorney fees is warranted based on the plaintiff’s counsel falsely

accusing the undersigned of fabricating quotes from legal authority, necessitating (a)

a motion for leave to reply (Doc # 83), (b) the Court’s ruling on that (Doc # 84); and

(c) a Reply (Doc # 87).

       The false accusation is by itself grounds for imposing sanctions. See, e.g.,

Xiao Wei Catering Linkage in Inner Mong. Co. v. Inner Mong. Xiao Wei Yang USA,

Inc., CIVIL ACTION No. 15-10114-DJC, at *12 (D. Mass. Mar. 30, 2018):

Attorney Xu also admitted at the hearing on February 13, 2018 that he wrongfully
accused Attorney Murillo of fabricating evidence. The court finds that he should be
sanctioned for this conduct, under the court's inherent power to sanction parties for
misconduct during litigation. See Chambers v. NASCO, Inc., 501 U.S. 32, 44-
45 (1991) (holding that courts are invested with inherent power to impose sanctions
for bad-faith conduct, including attorneys' fees when a party has "acted in bad faith,
vexatiously, wantonly, or for oppressive reasons") (quoting Alyeska Pipeline Service
Co. v. Wilderness Society, 421 U.S. 240, 258-59 (1985)).
Courts have also found that falsely accusing opposing counsel of misconduct is
sanctionable under Fed. R. Civ. P. 11. See Balerna v. Gilberti, 281 F.R.D. 63, 70 (D.
Mass. 2012) (holding that Rule 11 sanctions were warranted where counsel made
false accusations against opposing counsel); McGarry v. Geriatric Facilities of Cape
Cod, Inc., No. 10-cv-11343-GAO, 2011 WL 2600574, at *2 (D. Mass. June 28, 2011)
("Plaintiff's conduct in making false allegations against defense counsel and Ms.
Morse is in violation of Rule 11 of the Federal Rules of Civil Procedure.")


       The false accusation was an attack on the integrity of the undersigned,

complete with a purposeful alteration of the cited excerpt from the defendant’s memo

to make it look like the false accusation was true. It necessitated a response

ensuring the Court was not misled. The other misrepresentations also necessitated

responses. The time expended to seek leave, prepare and file the Reply warrants

an order to pay attorney fees.




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      4. Failure to pay half of Dec. 19 cost of reporter and attempt to extort.

          The Court ordered (Doc # 43) that “the cost of the court reporter shall be

   shared equally between Plaintiff and Defendants.” Upon receipt of the invoice from

   Steno in the amount of $1,298.05, on January 13 the undersigned (a) paid half in the

   amount of $649.03, and (b) forwarded to counsel, asking him to pay Steno directly or

   send half to the undersigned.

          On March 26 the undersigned noticed that there remained a balance of

   $649.02 on the December 19 invoice, meaning that Mr. Shochet had never paid it

   directly to Steno (or to the undersigned to pay). The undersigned therefore emailed

   Mr. Shochet demanding his half of payment for the Dec. 19 court reporter.

          Apparently, Mr. Shochet immediately phoned Steno and obtained confidential

   account information about a separate outstanding invoice (for the December 2

   deposition that the undersigned terminated), leading to his reply email which he

   inexplicably Cc’d to Steno’s General Counsel:

      Counsel, you are incorrect, we paid for both invoices that were sent to us from
      Steno Vol 1 was invoiced to us and paid by us to/from Steno directly - in full. For
      Vol 2, this bill was invoiced to us, and paid by us to/from Steno directly in full.
      I had a detailed conversation with Steno – who detailed me on your phone
      conversation with the billing department and who advised that we owe
      them nothing, but your invoice from Steno for Vol 1 in the amount of $3,878.81
      remains unpaid by you, and your invoice for Vol 2 in the amount of $1,290.05
      was not fully paid by you – you only paid Steno $649.02. You can confirm this
      was Steno – but I am copying Attorney Savar of Steno regardless.


      The statement that “we paid for both invoices” was in reference to extra copies of

transcripts he had ordered. The actual court reporter’s invoices were not sent to Mr.

Shochet as it was the undersigned who engaged Steno for the depositions.




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       Another email came shortly after in which Mr. Shochet now was acknowledging

that he hadn’t paid half of the December 19 invoice for the cost of the court reporter,

asserting that because he separately purchased a copy of the transcript he did not have

to pay half of the December 19 court reporter invoice:

             “Your invoice is your invoice. My invoice is my invoice. Steno says
       we are paid in full. Please tell me why we should pay 100% of our invoice
       and half of your invoice?”

       Notwithstanding having just disputed owing it, those emails were followed by two

more emails from Mr. Shochet a couple hours later reporting that he had just paid the

$649.02 and now was demanding the undersigned pay him for 50% of the cost of his

copy of the transcript he’d ordered separately, on threat of a motion for sanctions. He

also Cc’d these emails, inexplicably, to Steno’s G.C.:

       “We have paid Steno. We will also seek one-half of our invoice and move
       for sanctions today. Please pay one half of our invoice from the second
       deposition by 5 PM today or we will be filing for sanctions.”

       “Counsel, we have paid Steno in full now including 1/2 for your invoice.
       Now, you must pay for ½ of our invoice. We will give you to 5 PM today
       given that is the timeframe you requested for us. You can be us by Zelle
       using the link below.”


       Thus, the email to Mr. Shochet seeking payment of the December 19 cost of

court reporter pursuant to the Court’s order (Doc # 43) led to his attempt to extort the

undersigned, necessitating this motion and thus multiplying proceedings. This episode

exemplifies the use of this litigation by Mr. Shochet to vex, harass, and create burden

and expense out of artificial and orchestrated side issues.




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                                       Conclusion

       The undersigned represents the defendants pro bono and it would be

inequitable to enable the plaintiff’s counsel to abuse this litigation in ways calculated

to consume the undersigned’s time. Each of the grounds for this motion involves

such calculated abuse, unreasonably and vexatiously multiplying proceedings.

       Any attorney fees awarded can be used towards the cost of appointed or

retained counsel for the defendants.



       Defendants Preston and Cook, by:

       /s/ Bruce Matzkin
       Bruce Matzkin, Esq.
       51 Pleasant Street, # 72
       Malden, MA 02148
       857-242-8614
       Brucematzkin1@gmail.com




                        Certification Under Local Rule 7.1(C)

       The undersigned certifies compliance with the attorney-conference
requirement of Local Rule 7.1(B). The plaintiff’s counsel’s response was that the
Court stayed further filings, but the undersigned reminded him that this filing was
authorized by the Court (Doc # 118).


       /s/ Bruce Matzkin


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                                 CERTIFICATION

      I hereby certify that on March April 10, 2025, a copy of the foregoing was
emailed to counsel of record for the plaintiff:

Randall Shochet, Esq
Shochet Law Group
Attorneys for Jeremy B. Hales
409 N. Main Street Trenton, FL 32693
rshochet@shochetlaw.com


      /s/ Bruce Matzkin




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                EXHIBIT A
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       Amanda Martin Deposition Harassment by Hales & Megan Fox
